            IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
                         1:19 CV 344

DAVID L. SETTLEMYER and         )
JANE SETTLEMYER                 )
                                )
           Plaintiffs,          )
v.                              )                            ORDER
                                )
BORG-WARNER MORSE TEC, LLC; )
BWDAC, INC.; CARLISLE           )
INDUSTRIAL BRAKE & FRICTION )
INC.; CATERPILLAR, INC.; CBS    )
CORPORATION; CERTAIN TEED       )
CORPORATION; CONSOLIDATED       )
TRUCK PARTS, INC.; CRA          )
TRAILERS INC.; CUMMINS, INC.;   )
DAIMLER TRUCKS NORTH            )
AMERICA LLC; DANA               )
COMPANIES, LLC; EATON           )
CORPORATION; FEDERAL-MOGUL )
ASBESTOS PERSONAL INJURY        )
TRUST; FORD MOTOR COMPANY; )
HEAVY DUTY PARTS, INC.;         )
GENUINE PARTS COMPANY;          )
KELSEY-HAYES COMPANY; MACK )
TRUCKS, INC.; NAVISTAR, INC.;   )
PACCAR, INC.; PNEUMO ABEX, LLC )
                                )
           Defendants.          )
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      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 112) filed by M. Elizabeth O’Neill.      The Motion

indicates that Ms. O’Neill, a member in good standing of the Bar of this Court,

is local counsel for Defendant Pneumo Abex, LLC and that she seeks the



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               admission of John M. Fitzpatrick, who the Motion represents as being a

               member in good standing of the Bar of Colorado. It further appears that the

               requisite admission fee has been paid.

                       Accordingly, the Court GRANTS the Motion (Doc. 112) and ADMITS

               John M. Fitzpatrick to practice pro hac vice before the Court in this matter

               while associated with local counsel.



Signed: October 19, 2020




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